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 8                                IN THE UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                        CASE NO. 1:11-CR-00354-LJO
12                                   Plaintiff,       FINAL ORDER OF FORFEITURE
13                            v.
14   FLORENTINO TORRES ACOSTA

15                                   Defendant.
16

17          WHEREAS, on March 19, 2014, this Court entered a Preliminary Order of
18 Forfeiture pursuant to the provisions of 21 U.S.C. § 853, based upon the plea agreement

19 entered into between plaintiff and defendant Florentino Torres Acosta forfeiting to the

20 United States the following property:

21                           a)      Approximately $95,111.00 in U.S. Currency
22          AND WHEREAS, Beginning April 1, 2014, for at least 30 consecutive days, the
23 United States published notice of the Court’s Order of Forfeiture on the official internet

24 government forfeiture site www.forfeiture.gov. Said published notice advised all third

25 parties of their right to petition the Court within sixty (60) days from the first day of

26 publication of the notice for a hearing to adjudicate the validity of their alleged legal
27 interest in the forfeited property;

28          AND WHEREAS, the Court has been advised that no third party has filed a claim

      Final Order of Forfeiture                       1
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 1 to the subject property and the time for any person or entity to file a claim has expired.

 2          Accordingly, it is hereby ORDERED and ADJUDGED:
 3                   1. A Final Order of Forfeiture shall be entered forfeiting to the United States
 4   of America all right, title, and interest in the above-listed property pursuant to 21 U.S.C.
 5 § 853 and Fed. R. Crim. P. 32.2(b)(1), to be disposed of according to law, including all right,

 6 title, and interest of Florentino Torres Acosta.

 7                   2. All right, title, and interest in the above-listed property shall vest solely in
 8 the name of the United States of America

 9                   3. The Bureau of Alcohol, Tobacco, Firearms and Explosives shall maintain
10 custody of and control over the subject property until it is disposed of according to law.

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12 IT IS SO ORDERED.

13      Dated:      August 5, 2016                         /s/ Lawrence J. O’Neill _____
14                                              UNITED STATES CHIEF DISTRICT JUDGE

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      Final Order of Forfeiture                        2
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